       Case 1:20-cv-00176-LMM Document 1 Filed 01/13/20 Page 1 of 12




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

Matthew Gibson,                             )
                                            )
      Plaintiff,                            ) Civil Action File No.:
                                            )
v.                                          )
                                            )
Radius Global Solutions, LLC,               )   COMPLAINT WITH
                                            ) JURY TRIAL DEMAND
      Defendant.                            )
                                            )

                           PRELIMINARY STATEMENT

      This action for damages is based upon the Defendant’s overt and intentional,

unlawful conduct in the furtherance of its efforts to collect a consumer debt. The

Defendant’s conduct is in violation of the Fair Debt Collection Practices Act

(FDCPA), 15 U.S.C. 1692 et seq. and the Georgia Fair Business Practices Act,

(GFBPA) O.C.G.A. 10-1-390 et seq.

                                      PARTIES

      1.     Plaintiff, Matthew Gibson, is a natural person who resides in White

County, Georgia.

      2.     Defendant, Radius Global Solutions, LLC, is a corporation registered

to do business in Georgia and can be served with process via its registered agent,


                                        1
        Case 1:20-cv-00176-LMM Document 1 Filed 01/13/20 Page 2 of 12




CT Corporation System at 289 South Culver Street, Lawrenceville, Georgia

30046-4805.

                           JURISDICTION AND VENUE

      3.      This Court has federal question jurisdiction over Plaintiff’s Fair Debt

Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692, et seq., claims pursuant to

28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d). This Court has supplemental

jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367.

      4.      This Court has personal jurisdiction over Defendant because, inter

alia, Defendants frequently and routinely conducts business in the State of Georgia,

including the conduct complained of herein.

      5.      Pursuant to 28 U.S.C. § 1391, venue is proper in the Northern District

of Georgia because a substantial part of the events or omissions giving rise to the

claims occurred in this district.

      6.      Pursuant to LR 3.1B(3), venue is proper in the Atlanta Division

because the Defendant maintains a Registered Agent in Gwinnett County which is

in the Atlanta Division.

                            FACTUAL ALLEGATIONS

      7.      Plaintiff has undergone severe physical hardships both personally and

via members of his family that have caused him to incur a significant amount of

                                          2
        Case 1:20-cv-00176-LMM Document 1 Filed 01/13/20 Page 3 of 12




medical expense.     As a result of the lack of insurance and lost employment

opportunities, the Plaintiff has fallen behind on a number of these accounts from

various providers.

      8.     Plaintiff is allegedly obligated to pay a consumer debt arising out of

medical debt and is therefore, a “consumer”, as that term is defined by 15 U.S.C. §

1692a(3).

      9.     Defendant is a collection agency specializing in the collection of

consumer debt.

      10.    Defendant uses interstate commerce and/or mail in its business in the

collection of consumer debts.

      11.    Defendant markets itself as, “…a leading provider of account

recovery and debt collection, customer relationship management, and healthcare

revenue cycle management solutions.” See, https://www.radiusgs.com/about-us/.

(Last visited January 6, 2020.)

      12.    Defendant manages, and collects upon, thousands of consumer debt

accounts annually.

      13.    Defendant is, therefore, a “debt collector” as that term is defined by

15 U.S.C. § 1692a(6).




                                         3
        Case 1:20-cv-00176-LMM Document 1 Filed 01/13/20 Page 4 of 12




       14.    As part of an ongoing effort to get his financial affairs in order, the

Plaintiff obtained a copy of his credit report as published by Transunion and

Experian on or about December 17th, 2019.

       15.    In reviewing his credit files, Plaintiff noted that Defendant had

reported to Transunion and Experian, two major credit reporting agencies, an

account under collection in the amount of $1,622.00.

       16.    The applicable tradelines show that the accounts have been published

by the Defendant monthly since March 2019 and most recently on November 18,

2019. A reproduction of the tradeline appears below,




       17.    As would be expected, and as intended by Defendant, Plaintiff is

concerned about both his debt and his credit file and how payments would be

reflected on the latter.

       18.    On or about December 23rd, 2019, Plaintiff initiated a call to

Defendant to obtain more information about the debt and how he could resolve it.


                                          4
        Case 1:20-cv-00176-LMM Document 1 Filed 01/13/20 Page 5 of 12




      19.    When the Plaintiff asked about the entries made by Defendant on his

credit reports, he was told that Defendant was collecting an account in the amount

of $1,622.00 on behalf of CF Medical. CF Medical does not appear on any of the

tradelines reported by Defendant to the credit reporting agencies.

      20.    Knowing that paying the sum being sought by the Defendant is a

financial impossibility, the Plaintiff asked what the ramifications would be if we

simply cannot pay the debt.

      21.    Defendant informed him that the account would remain in collections

until such time as the owner of the debt removed it from Defendant.

      22.    The Plaintiff next inquired as to whether or not the balance owed

could be broken up into smaller regular payments. Upon information and belief,

Defendant responded that it would accept and apply partial payments in any

amount to the balance owed.

      23.    The Plaintiff then asked if partial payments accepted by the Defendant

would be reflected on his credit report. Upon information and belief, the Defendant

answered clearly in the negative and stated that the only time his credit report will

be updated is once the account is paid in full as reported or per a reduced

settlement amount.




                                         5
        Case 1:20-cv-00176-LMM Document 1 Filed 01/13/20 Page 6 of 12




      24.     Credit reporting by a furnisher such as the Defendant is regulated by

The Fair Credit Reporting Act, 15 U.S.C. § 1681 et. seq.

      25.     Per 15 U.S.C. § 1681s-2(a)(1)(A) a furnisher of credit information

“…shall not furnish any information relating to a consumer to any consumer

reporting agency if the person knows or has reasonable cause to believe that the

information is inaccurate.”

      26.     Moreover, a data furnisher, such as the Defendant, has an affirmative

duty to update the information provided to a credit reporting agency to maintain

accuracy and completeness. 15 U.S.C. § 1681s-2(a)(2)(B).

      27.     Upon   information   and   belief,   Defendant’s   agreements   with

Transunion and Experian require Defendant to report account information on a

regular basis or schedule.

                               INJURIES-IN-FACT

      28.     The FDCPA provides consumers with “statutorily-created rights to be

free from ‘being subjected to false, deceptive, unfair, or unconscionable means to

collect a debt.’” McCamis v. Servis One, Inc., No. 8:16-CV-1130-T-30AEP, 2016

U.S. Dist. LEXIS 99492 (M.D. Fla. July 29, 2016); Church v. Accretive Health,

Inc., 654 Fed. Appx. 990, 2016 U.S. App. LEXIS 12414, 2016 WL 3611543 (11th

Cir. 2016).

                                         6
        Case 1:20-cv-00176-LMM Document 1 Filed 01/13/20 Page 7 of 12




      29.    An injury-in-fact sufficient to satisfy Article III standing requirements

“may exist solely by virtue of statutes creating legal rights, the invasion of which

creates standing.” Church, at 993, quoting Havens Realty Corp. v. Coleman, 455

U.S. 363, 373, 102 S. Ct. 1114, 71 L. Ed. 2d 214 (1982).

      30.    Violation of statutory rights are not a “hypothetical or uncertain”

injury, but one “that Congress has elevated to the status of a legally cognizable

injury through the FDCPA.” McCamis, at 4, citing Church, at 3.

      31.    Defendant is subjecting Plaintiff to false, deceptive, unfair, and

unconscionable means to collect the debt.

      32.    Accordingly, through the violation of Plaintiffs’ statutorily created

rights under the FDCPA, Plaintiffs have suffered an injury-in-fact sufficient to

establish Article III standing.

                                    DAMAGES

      33.    As a result of the Defendant’s actions and/or omissions, Plaintiff has

suffered actual damages, including but not limited to the following:

      a.)    Being subjected to false, deceptive, unfair, and unconscionable debt

collection practices;




                                          7
        Case 1:20-cv-00176-LMM Document 1 Filed 01/13/20 Page 8 of 12




       b.)     Uncompensated time expended away from work and/or activities of

daily living, to confer with counsel regarding the Defendant's collection efforts;

and,

       c.)     Anxiety and worry caused by concern that Defendant will engage in

unlawful conduct to exert continued pressure upon the Plaintiff.

                               CAUSES OF ACTION

                                      COUNT I

  VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                               15 U.S.C. § 1692 et. seq.

       34.     Plaintiff incorporates by reference paragraphs 1 through 33 as though

fully stated herein.

Violations of 15 U.SC. § 1692e and its subparts

       35.     15 U.S.C. § 1692e specifically prohibits the use of any false,

deceptive, or misleading representations or means in connection with the collection

of any debt.

       36.     The use of “or” in § 1692e means a representation violates the

FDCPA if it is false or deceptive or misleading. Bourff v. Rubin Lublin, LLC, 674

F.3d 1238, 1241 (11th Cir. 2012).




                                           8
        Case 1:20-cv-00176-LMM Document 1 Filed 01/13/20 Page 9 of 12




      37.    The standard in determining the nature of any such representation is

that of the “least sophisticated consumer.” Its purpose is to protect "naive

consumers" with a minimal understanding of personal finance and debt

collection. LeBlanc v. Unifund CCR Partners, 601 F.3d 1185, 1194 (11th Cir.

2010) (per curiam).

      38.    Moreover, the least sophisticated consumer is not to be held to the

same standard as a reasonably prudent consumer. The least sophisticated

consumer, though not unreasonable, is "ignorant" and "unthinking," "gullible,"

and of "below-average sophistication or intelligence," Pinson v. JPMorgan Chase

Bank, Nat'l Ass'n, No. 16-17107, 2019 U.S. App. LEXIS 33662, at 12-13 (11th Cir.

Nov. 12, 2019), quoting Clomon v. Jackson, 988 F.2d 1314, 1318 (2d Cir. 1993)

      39.    A false representation in connection with the collection of a debt is

sufficient to violate the FDCPA, even if it is not alleged or proven to be misleading

or deceptive.

      40.    The Defendant’s representation that it would not provide the current

payment status and balance of Plaintiff’s account with its regular monthly

reporting to credit reporting bureaus was a threat to violate the law regarding such

reporting; specifically 15 U.S.C. §§ 1681s-2(a)(1)(A) and (a)(2)(B).




                                         9
       Case 1:20-cv-00176-LMM Document 1 Filed 01/13/20 Page 10 of 12




      41.    The Defendant’s representation was a violation of 15 U.S.C. § 1692e,

e(5), and e(10).

                                      COUNT II

  VIOLATIONS OF THE GEORGIA FAIR BUSINESS PRACTICES ACT

                            O.C.G.A. § 10-1-390, et seq.

      42.    Plaintiff incorporates by reference paragraphs 1 through 33 and 35

through 41 as though fully stated herein.

      43.    O.C.G.A. § 10-1-390 et seq is commonly known as the "Fair Business

Practices Act of 1975" (the “GFBPA”).

      44.    The purpose of the GFBPA, is to protect consumers from unfair

and/or deceptive practices in the conduct of any trade or commerce in part or

wholly in the state. O.C.G.A. § 10-1-391.

      45.    O.C.G.A. § 10-1-391 directs that the GFPBA is to be interpreted and

applied liberally and in harmony with the Federal Trade Commission Act, 15

U.S.C. § 45(a)(1), which implements the FDCPA.

      46.    O.C.G.A. § 10-1-393(a) of the GFBPA broadly prohibits unfair and/or

deceptive business practices.

      47.    Defendant intentionally engaged in unfair and deceptive business

practices, as set forth herein, in an effort to collect a consumer debt.

                                            10
          Case 1:20-cv-00176-LMM Document 1 Filed 01/13/20 Page 11 of 12




      48.      Defendant’s conduct has implications for the consuming public in

general.

      49.      Defendant’s conduct negatively impacts the consumer marketplace.

      50.      Upon information and belief, Defendant does not maintain a place of

business in Georgia and has no assets in Georgia, thus relieving Plaintiffs of the

Notice and Demand requirements of O.C.G.A. § 10-1-399(b).

      51.      As a result of Defendant’s violations of O.C.G.A. § 10-1-393(a),

Plaintiff is entitled to recover general damages pursuant to O.C.G.A. § 10-1-

399(a).

      52.      As a result of Defendant’s intentional violations of O.C.G.A. § 10-1-

393(a), Plaintiff is entitled to recover exemplary damages pursuant to O.C.G.A. §

10-1-399(a).

      53.      As a result of Defendant’s intentional violations of O.C.G.A. § 10-1-

393(a), Plaintiff is entitled to recover treble damages pursuant to O.C.G.A. § 10-1-

399(c).

      54.      Plaintiff is entitled to recover reasonable attorney’s fees and expenses

of litigation pursuant to O.C.G.A. § 10-1-399(d).

                                       TRIAL BY JURY

      55.      Plaintiff is entitled to and hereby requests a trial by jury.

                                            11
        Case 1:20-cv-00176-LMM Document 1 Filed 01/13/20 Page 12 of 12




       WHEREFORE, Plaintiff prays that judgment be entered against Defendant

for:

a.)    Plaintiff’s actual damages;

b.)    Statutory damages pursuant to 15 U.S.C. § 1692k;

c.)    Reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k

d.)    General, exemplary, and treble damages pursuant to O.C.G.A. § 10-1-399(a)

       & (c);

e.)    Reasonable attorney’s fees and costs pursuant to O.C.G.A. § 10-1-399(d);

       and

f.)    Such other and further relief as may be just and proper.

Respectfully submitted this 13th day of January, 2020.


                                      BERRY & ASSOCIATES

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                                         12
